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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION

INRE:

HUGH LAWRENCE BROOKS and

TAMMIE LATHERES SIMS-BROOKS, CASE NO. 09-02012~JMC-l 1

Debtors.

 

HUGH LAWRENCE BROOKS,

Plaintiffz

 

VS.

\/\/\-/\_/`/\J\./\/\_/V\/\/\./VV

DBRS, INC., d/b/a FCDP PSL TRUST
And AMERICAN EDUCATIONAL SERVICES)

)
Defendants. )

COMPLAINT TO DETERMINE DISCHARGEABILITY OF STUDENT LOAN
Mf_l
Introduction
l. This is an adversary proceeding brought under the Bankruptcy Code, ll U.S.C.
§523(a)(8)(A)(i) to determine the dischargeability of qualified education loans (“student loans”),
as defined in 23 USC §221(d)(l).
Parties
2. The Debtor filed this case under Chapter ll of the Bankruptcy Code on February
26, 2009. This Court thus has jurisdiction over this action under 28 U.S.C. §1334. This
proceeding is a core proceeding
3. The Defendant, DBRS, INC., d/b/a FCDP PSL TRUST(hereinafter “Defendant”)

is believed to be a corporation with its principal place of business located at 333 West Wacker

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Drive, Suite 1800, Chicago, IL 60606.

4. The Defendant American Educational Services is a corporation with its address at
P.O. Box 2461, Harrisburg, PA 17105-2461.

Factual Allegations

5. One of the unsecured debts owing by Plaintiff was listed in Schedule F is a
student loan owing to Defendant, FCDP PSL TRUST.

6. AES is believed to be the servicer of the private student loan.

7. Hugh Brook’s present indebtedness on this private student loan is approximately

$'132,652.96.

8. Plaintiffs payment on his government student loan are approximately $2,000.00
per month.
9. Plaintiff’ s monthly payouts on his other private student loans, settled in a different

adversary proceeding are $1050.00 per month.

10. Plaintiff ‘s income and expected future income is and will be adequate for him to
afford the basic necessities of life, but will not allow for the payment demanded by Defendant.
As such, he lacks the ability to repay the student loan debt to the Defendant, and, any payments
he would make would create a great hardship on the Plaintiff.

ll. Excepting this student loan from Discharge in its entirety will impose an undue
hardship on the Plaintiff.

12. Excepting the student loan from Discharge will, when Debtor is unable to make
the payments required by the Defendants, cause the Debtor to default on his government student
loans, and subject him to collection activities, possibly including, but not limited to: lawsuits;

wage garnishment; ruined credit; collection calls & letters; tax refund intercept;

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substantial additional fees & interest added to the balance. Debtor is being forced into a
situation Where default on his Student loan is not just likely, but all but guaranteed, Will serve to
frustrate the “fresh start” of his Bankruptcy Discharge, and, as such, undermine the entire
purpose of the Bankruptcy process.

13. The Debtor’s eventual default, and being subject to subsequent collection activity,
will serve to only increase the undue hardship on the Debtor, although at that point in time, not
only will he be unable to seek protection under Chapter 7, but also Chapter 13.

14. Congress intended student loan debts to be dischargeable when not doing so
would serve to frustrate the “iresn start” of the Bankruptcy Discharge, and, as such, undermine
the entire purpose of the Bankruptcy process by causing an undue hardship on Debtor, as
evidenced by ll U.S.C. §523(a)(8)(B).

15. As of the date of filing this Adversary, Defendant has refused to offer any
reasonable payment option for the Debtor.

16. Although not actually required by any applicable statute or code section, Debtor
has made a good faith effort to repay the student loan debt in question.

17. Debtor’s financial situation is not expected to noticeably change in the future.

18. The loan above described is a private student loan debt owed to the Defendant,
and is also dischargeable under ll U.S.C. §523(a)(8)(B), because it is not a “qualifled student
loan” used solely for Plaintiff’s Cost of Attendance at his schools.

19. Plaintiff, by counsel, and hereby gives notice that he consents to the entry of final
orders or judgment by the Bankruptcy Court in this adversary proceeding

WHEREFORE, the Plaintiff respectfully prays the Court declare the subject student loan

dischargeable under 11 U.S.C. §523(a)(8), and further relief as the Court may deem just and

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proper.

Respectfully submitted,

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